Case 4:14-cv-00753 Document 50 Filed on 03/10/16 in TXSD Page 1 of 2

IN THE UNITED STATES COURT OF APPEALS

 

 

FOR THE FIFTH CIRCUIT
United States Court of Appeals
Fifth Circuit
No. 15-20278 FILED
February 17, 2016
. Lyle W. Cayce
D.C. Docket No. 4:14-CV-753 Clerk
HOZAM ALAJMI,
United States District Court
Plaintiff - Appellant Southern District of Texas
‘ MAR 10 2016
THE METHODIST HOSPITAL; FAROUQ AQRAWI, David J. Bradley, Clerk of Court

Defendants - Appellees

Appeal from the United States District Court for the
Southern District of Texas, Houston

Before ELROD, GRAVES, and COSTA, Circuit Judges.

JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.

It is ordered and adjudged that the judgment of the District Court is
affirmed.

IT IS FURTHER ORDERED that plaintiff-appellant pay to defendants-
appellees the costs on appeal to be taxed by the Clerk of this Court.

 

Certified as a true copy and issued
as the mandate on Mar 10, 2016

Attest: 4

Clerk, U.S. fe W. of £ irth Circuit
1of8

 
 

Case 4:14-cv-00753 Document 50 Filed on 03/10/16 in TXSD Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

March 10, 2016

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 15-20278 Hozam Alajmi v. Methodist Hospital, et al
USDC No. 4:14-CV-753

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.

Enclosed for the district court and counsel is the approved bill
of costs.

Sincerely,

LYLE W. CAYCE, Clerk

yor deta,
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James deMontluzin, Deputy Clerk
504-310-7679

 

cc:
Mr. Mehdi Cherkaoui
Mr. Oscar Luis De La Rosa
Ms. Aron L. Gregg

Bos

 
